Case 2:21-cv-01707-MJP Document 1-1 Filed 12/29/21 Page 1 of 8




                                              DW.+1
                                               
Case 2:21-cv-01707-MJP Document 1-1 Filed 12/29/21 Page 2 of 8
Case 2:21-cv-01707-MJP Document 1-1 Filed 12/29/21 Page 3 of 8
Case 2:21-cv-01707-MJP Document 1-1 Filed 12/29/21 Page 4 of 8
Case 2:21-cv-01707-MJP Document 1-1 Filed 12/29/21 Page 5 of 8
Case 2:21-cv-01707-MJP Document 1-1 Filed 12/29/21 Page 6 of 8
Case 2:21-cv-01707-MJP Document 1-1 Filed 12/29/21 Page 7 of 8
Case 2:21-cv-01707-MJP Document 1-1 Filed 12/29/21 Page 8 of 8
